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             United States Court of Appeals                             CENTRAL DISTRICT OF CALIFORNIA
                                                                                 MAT
                                                                          BY: ___________________ DEPUTY




                 for the Federal Circuit
                              ______________________

                    THE CALIFORNIA INSTITUTE OF
                           TECHNOLOGY,
                           Plaintiff-Appellee

                                        v.

             BROADCOM LIMITED, NKA BROADCOM INC.,
                BROADCOM CORPORATION, AVAGO
               TECHNOLOGIES LIMITED, NKA AVAGO
            TECHNOLOGIES INTERNATIONAL SALES PTE.
                     LIMITED, APPLE INC.,
                       Defendants-Appellants
                      ______________________

                               2020-2222, 2021-1527
                              ______________________

              Appeals from the United States District Court for the
           Central District of California in No. 2:16-cv-03714-GW-
           AGR, Judge George H. Wu.
                            ______________________

                                   JUDGMENT
                              ______________________

           THIS CAUSE having been considered, it is

           ORDERED AND ADJUDGED:

           AFFIRMED IN PART, VACATED IN PART, AND
           REMANDED

                                             FOR THE COURT

           February 4, 2022
                Date                         /s/ Peter R. Marksteiner
                                             Peter R. Marksteiner
                                             Clerk of Court
